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                               UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION


 LILIANA D. SANTOS,
                                                        CIVIL COMPLAINT
              Plaintiff,

 v.                                                     CASE NO. 1:18-cv-06812

 CAINE & WEINER COMPANY, L.L.C.,
                                                        DEMAND FOR JURY TRIAL
              Defendant.


                                           COMPLAINT

         NOW comes LILIANA D. SANTOS (“Plaintiff”), by and through her attorneys, Sulaiman

Law Group, Ltd. (“Sulaiman”), complaining as to the conduct of CAINE & WEINER

COMPANY, L.L.C. (“Defendant”), as follows:

                                       NATURE OF THE ACTION

      1. Plaintiff brings this action for damages pursuant to the Fair Debt Collection Practices Act

(“FDCPA”) under 15 U.S.C. §1692 et seq. for Defendant’s unlawful conduct.

                                     JURISDICTION AND VENUE

      2. This action arises under and is brought pursuant to the FDCPA. Subject matter jurisdiction

is conferred upon this Court by 15 U.S.C §1692, 28 U.S.C. §§1331 and 1337, as the action arises

under the laws of the United States.

      3. Venue is proper in this Court pursuant to 28 U.S.C. §1391(b)(1) as Defendant resides in

the Northern District of Illinois.

                                                PARTIES




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      4. Plaintiff is a consumer over 18 years-of-age and a “person” as defined by 47 U.S.C.

§153(39).

      5. Defendant promotes that “[w]e enhance cash flow for the global business community

through the creative and effective utilization of accounts receivable management systems and

innovative solutions.”1 Defendant is a limited liability company organized under the laws of the

state of Illinois with Frank Dispensa as its registered agent, located at 1699 Woodfield Rd., Suite

360, Schaumburg, Illinois 60173.

      6. Defendant is a “person” as defined by 47 U.S.C. §153(39).

      7. Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers at all

times relevant to the instant action.

                                  FACTS SUPPORTING CAUSES OF ACTION

      8. Several years ago, Plaintiff attended UEI College.

      9. Through UEI College, Plaintiff received financial aid to pay for her studies in the form of

student loans.

      10. Recently, Plaintiff’s health and wellbeing has significantly deteriorated.

      11. Plaintiff is unable to work and sustains herself through public aid.

      12. Due to Plaintiff’s deteriorated health and financial hardship, she has been unable to make

regular payments towards her student loans, thus incurring debt (“subject debt”).

      13. Around the summer of 2018, Plaintiff began receiving collection calls to her personal

cellular phone, (626) XXX-0559, from Defendant.




1
    https://www.caine-weiner.com/about-us/mission-statement/

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   14. At all times relevant to the instant action, Plaintiff was the sole subscriber, owner, and

operator of her cellular phone ending in 0559. Plaintiff is and always has been financially

responsible for the cellular phone and its services.

   15. Defendant has mainly used the phone number (818) 251-1790 when placing calls to

Plaintiff’s home phone, but upon belief, it has other numbers as well.

   16. Upon information and belief, the above referenced phone number is regularly utilized by

Defendant during its debt collection activity.

   17. Upon speaking with Defendant, Plaintiff is informed that it is acting as a debt collector

attempting to collect upon the subject debt.

   18. Plaintiff explained her inability to pay due to her weakened health and financial hardship.

   19. After explaining her tragic situation and inability to pay, Plaintiff asked that Defendant

stop calling her.

   20. Nevertheless, Defendant continued to place harassing phone calls to Plaintiff’s cellular

phone.

   21. On multiple occasions, Defendant has threatened litigation against Plaintiff in order to

garnish her public aid income.

   22. Defendant has also contacted Plaintiff’s mother and disclosed that Plaintiff owed the

subject debt.

   23. Frustrated over Defendant’s conduct, Plaintiff spoke with Sulaiman regarding her rights,

resulting in expenses.

   24. Plaintiff has been unfairly and unnecessarily harassed by Defendant's actions.

   25. Plaintiff has suffered concrete harm as a result of Defendant’s actions, including but not

limited to, invasion of privacy, aggravation that accompanies collection telephone calls,



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    emotional distress, increased risk of personal injury resulting from the distraction caused by the

    never-ending calls, increased usage of her telephone services, loss of cellular phone capacity,

    diminished cellular phone functionality, decreased battery life on her cellular phone, and

    diminished space for data storage on her cellular phone.

              COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

      26. Plaintiff repeats and realleges paragraphs 1 through 25 as though full set forth herein.

      27. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3) of the FDCPA.

      28. Defendant is a “debt collector” as defined by §1692a(6) of the FDCPA, because it regularly

use the mail and/or the telephone to collect, or attempt to collect, delinquent consumer accounts.

      29. Defendant is engaged in the business of collecting or attempting to collect, directly or

indirectly, defaulted debts owed or due or asserted to be owed or due to others. Defendant identifies

itself as a debt collector and has been a member of the Association of Credit and Collection

Professionals (“ACA”) since 1951.2

      30. Upon information and belief, the subject debt is a “debt” as defined by FDCPA §1692a(5)

as it arises out of a transaction due or asserted to be due to another for personal, family, or

household purposes

           a. Violations of FDCPA §1692b & c(b)

      31. The FDCPA, pursuant to 15 U.S.C. §1692b, prohibits a debt collector from

“communicating with any person other than the consumer for the purpose of acquiring location

information about the consumer.” Additionally, under §1692b(2), a debt collector “shall not state

that such consumer owes any debt” to a third party. Furthermore, under §1692c(b), “without the

prior consent of the consumer given directly to the debt collector…a debt collector may not



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    http://www.acainternational.org/search#memberdirectory

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communicate, in connection with the collection of any debt, with any person other than the

consumer, his attorney, a consumer reporting agency…the attorney of the creditor, or the attorney

of the debt collector.”

   32. Defendant violated §1692b, b(2), and c(b) by contacting Plaintiff’s mother and disclosing

that Plaintiff owed the subject debt. Plaintiff explicitly notified Defendant that she was not able

to address the subject debt due to her health issues and financial hardship. At that point, Defendant

had no need to contact third parties, but it willfully violated b(2) and c(b) to corce Plaintiff into

making a payment.

       b. Violations of FDCPA §1692c(a)(1) and §1692d

   33. The FDCPA, pursuant to 15 U.S.C. §1692d, prohibits a debt collector from engaging “in

any conduct the natural consequence of which is to harass, oppress, or abuse any person in

connection with the collection of a debt.” §1692d(5) further prohibits, “causing a telephone to ring

or engaging any person in telephone conversation repeatedly or continuously with intent to annoy,

abuse, or harass any person at the called number.”

   34. Defendant violated §1692c(a)(1), d, and d(5) when it continuously called Plaintiff after

being notified to stop and that Plaintiff was not the underlying debtor. Defendant called Plaintiff

multiple times after she demanded that it stop. This repeated behavior of systematically calling

Plaintiff’s phone in spite of this information was harassing and abusive. The frequency and nature

of calls shows that Defendant willfully ignored Plaintiff’s pleas with the goal of annoying and

harassing her.

        c. Violations of FDCPA § 1692e




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   35. The FDCPA, pursuant to 15 U.S.C. §1692e, prohibits a debt collector from using “any

false, deceptive, or misleading representation or means in connection with the collection of any

debt.”

  36. In addition, this section enumerates specific violations, such as:

           “The representation or implication that nonpayment of any debt will result in the
           arrest or imprisonment of any person or the seizure, garnishment, attachment, or
           sale of any property or wages of any person unless such action is lawful and the
           debt collector or creditor intends to take such action.” 15 U.S.C. §1692e(4); and

           “The use of any false representation or deceptive means to collect or attempt to
           collect any debt or to obtain information concerning a consumer.” 15 U.S.C.
           §1692e(10).

   37. Defendant violated §1692e and e(4) when it used deceptive means to collect and/or attempt

to collect the subject debt. By threatening to garnish Plaintiff’s public aid income, it gave Plaintiff

the false impression that Defendant had the legal ability to unilaterally garnish Plaintiff’s public

aid income in an attempt to coerce Plaintiff into paying the subject debt. Moreover, Defendant’s

lack of intent to proceed with the legal process of garnishing Plaintiff’s public aid income can be

gauged by its failure to initiate a garnishment lawsuit and instead proceed with its coercive

attempts to collect from Plaintiff outside of the judicial process.

   38. Defendant violated §1692e and e(10) when it used deceptive means to collect and/or

attempt to collect the subject debt. In spite of the fact that Plaintiff demanded that it stop

contacting her, Defendant continued to contact her. Instead of putting an end to this harassing

behavior, Defendant systematically placed calls to Plaintiff’s cellular phone in a deceptive attempt

to force her to answer its calls and ultimately make a payment.


         d. Violations of FDCPA § 1692f

   39. The FDCPA, pursuant to 15 U.S.C. §1692f, prohibits a debt collector from using “unfair

or unconscionable means to collect or attempt to collect any debt.”

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   40. Defendant violated §1692f when it unfairly and unconscionably attempted to collect on a

debt by continuously calling Plaintiff multiple times after being notified to stop. Attempting to

coerce Plaintiff into payment by placing voluminous phone calls without her permission is unfair

and unconscionable behavior. These means employed by Defendant only served to worry and

confuse Plaintiff.

   41. Defendant further violated §1692f when it unfairly and unconscionably threatened to

unilaterally garnish Plaintiff’s public aid income. Any reasonable fact finder will conclude that

threatening to garnish a sickly person’s public aid income is unfair and/or unconscionable because

it is designed to worry and confuse Plaintiff into making a payment on the subject debt.

   42. As pled in paragraphs 23 through 25, Plaintiff has been harmed and suffered damages as a

result of Defendant’s illegal actions.

   WHEREFORE, Plaintiff, LILIANA D. SANTOS, respectfully requests that this Honorable

Court enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned bodies of law;

   b. Awarding Plaintiff statutory damages of $1,000.00 as provided under 15 U.S.C.
      §1692k(a)(2)(A);

   c. Awarding Plaintiff actual damages, in an amount to be determined at trial, as provided
      under 15 U.S.C. §1692k(a)(1);

   d. Awarding Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C.
      §1692k(a)(3); and

   e. Awarding any other relief as this Honorable Court deems just and appropriate.

Dated: October 10, 2018                              Respectfully submitted,

s/ Nathan C. Volheim                                 s/Taxiarchis Hatzidimitriadis
Nathan C. Volheim, Esq. #6302103                     Taxiarchis Hatzidimitriadis, Esq. #6319225
Counsel for Plaintiff                                Counsel for Plaintiff
Admitted in the Northern District of Illinois        Admitted in the Northern District of Illinois

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